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      Facsimile: (424) 204-9093
  9
      Attorneys for Defendants
 10
 11
                            UNITED STATES DISTRICT COURT
 12
              CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION
 13
                                               ) Case No. 2:22-cv-03391-SSS (RAOx)
 14   EDWARD PEÑA and BRANDON                  )
      MILLER, individually and on behalf of    ) Judge: Hon. Sunshine S. Sykes
 15   others similarly situated,               )
 16                                            ) DECLARATION OF AMIR. M.
                  Plaintiffs,                  ) NASSIHI    IN SUPPORT OF MOTION
                                                 TO   COMPEL    ARBITRATION AND
                                               ) STAY PROCEEDINGS
 17         v.
                                               )
 18   INTERNATIONAL MEDICAL                    ) [Filed concurrently with Notice of
      DEVICES, INC., MENOVA                    ) Motion to Compel Arbitration;
 19   INTERNATIONAL, INC., GESIVA              ) Memorandum of Points and Authorities;
      MEDICAL, LLC, JAMES J. ELIST M. ) and [Proposed] Order]
 20   D., a Medical Corporation, and Dr. James )
      ELIST                                    )
 21
                                               )
                  Defendants.                  )
 22
                                               )
 23                                            )
                                               )
 24                                            )
 25

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                                                   1
                                 DECL. ISO MOTION TO COMPEL ARBITRATION AND STAY PROCEEDINGS
                                                                  Case No. 2:22-cv-03391-SSS (RAOx)
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  1         I, Amir M. Nassihi declare as follows:
  2         1.     I am an attorney duly licensed to practice law in the State of California,
  3   and a partner at the law firm of Shook, Hardy & Bacon, L.L.P., counsel for
  4   Defendants International Medical Devices, Inc., Menova International, Inc., Gesiva
  5   Medical, LLC, James J. Elist M.D., a Medical Corporation, and Dr. James Elist
  6   (collectively, “Defendants”). Unless stated otherwise, the statements in this
  7   declaration are made on the basis of my own personal knowledge and I could and
  8   would competently testify thereto if called upon to do so.
  9         2.     Attached hereto as Exhibit 1 is a true and correct copy of the July 27,
 10   2023 Demand for Arbitration sent to Mr. Edward Peña and Mr. Brandon Miller
 11   through their counsel.
 12         3.     Pursuant to C.D. Cal. Rule 7-3, I conferred with Plaintiff’s counsel about
 13   the filing of this motion on July 26, 2023, but we were unable to resolve the
 14   underlying controversy.
 15         I declare under penalty of perjury that the foregoing is true and correct.
 16         Executed on this 4th day of August, 2023, in San Francisco, California.
 17

 18                                                        /s/ Amir M. Nassihi                 .
                                                            Amir M. Nassihi
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                                DECL. ISO MOTION TO COMPEL ARBITRATION AND STAY PROCEEDINGS
                                                                 Case No. 2:22-cv-03391-SSS (RAOx)
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                                                                              Exhibit 1
                                                                                001
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   July 27, 2023

                                                                                                                           Amir M. Nassihi
   VIA E-Mail
                                                                                                       555 Mission Street Suite 2300
   Michael A. Caddell (SBN 249469)                                                                    San Francisco, California 94105
                                                                                                                      t 415.544.1900
   mac@caddellchapman.com                                                                                             d 415.544.1949
   Cynthia B. Chapman (SBN 164471)                                                                                     f 415.391.0281
   cbc@caddellchapman.com                                                                                         anassihi@shb.com
   Amy E. Tabor (SBN 297660)
   aet@caddellchapman.com
   CADDELL & CHAPMAN
   628 East 9th Street
   Houston, TX 77007-1722

   Re: Peña v. Internal Medical Devices, Inc., No. 2:22-cv-03391-SSS (PLAx) –
   Demand for Arbitration


   Dear Mr. Caldwell, Ms. Chapman, and Ms. Tabor,
   Enclosed are the Physician-Patient Arbitration Agreements duly executed by
   your clients Mr. Edward Peña and Mr. Brandon Miller in connection with their
   Penuma procedures. This letter serves as notice that Defendants James J. Elist
   M.D., A Medical Corporation, Dr. James Elist, International Medical Devices,
   Inc., Menova International, Inc., and Gesiva Medical, LLC (“Defendants”)
   hereby demand that your clients comply with the Physician-Patient Arbitration
   Agreements and agree to arbitrate all individual claims asserted in the above-
   captioned case.

   The Physician-Patient Arbitration Agreements signed by Mr. Peña and Mr.
   Miller provide in pertinent part:

                   ARTICLE 1: Agreement to Arbitrate. It is
                   understood that any dispute as to medical
                   malpractice, that is as to whether any medical
                   services rendered under this contract were
                   unnecessary or unauthorized or were improperly,
                   negligently or incompetently rendered, will be
                   determined by submission to arbitration as
                   provided by California law, and not by a lawsuit or
                   resort to court process except as California law

             ATLANTA | BOSTON | CHICAGO | DENVER | HARTFORD | HOUSTON | KANSAS CITY | LO NDON | LOS ANGELES | MIAMI | NEW YORK |
                       ORANGE COUNTY | PHILADELPHIA | SAN FRANCISCO | SEATTLE | ST. LOUIS | TAMPA | W ASHINGTON, D.C.



                                                                                                                                         Exhibit 1
                                                                                                                                           002
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                   provides for judicial review of arbitration
                   proceedings. Both parties to this contract, by
                   entering into it, are giving up their constitutional
                   rights to have any such dispute decided in a court
                   of law before a jury, and instead are accepting the                                                              July 27, 2023
                                                                                                                                           Page 2
                   use of arbitration.

                   ARTICLE 2: All Claims Must be Arbitrated: It is
                   the intention of the parties that this agreement bind
                   all parties whose claims may arise out of or relate to
                   treatment or service provided by the physician
                   including any spouse or heirs of the patient and any
                   children . . . . All claims for monetary damages
                   exceeding the jurisdictional limit of the small claims
                   court against the physician, and the physician’s
                   partners, associates, association, corporation or
                   partnership, and the employees, agents and estates
                   of any of them, must be arbitrated including, without
                   limitation, claims for loss of consortium, wrongful
                   death, emotional distress or punitive damages.
                   Filing of any action in any court by the physician to
                   collect any fee from the patient shall not waive the
                   right to compel arbitration of any malpractice claim.

   Further, this Agreement provides as follows: “NOTICE: BY SIGNING THIS
   CONTRACT YOU ARE AGREEING TO HAVE ANY ISSUE OF
   MEDICAL MALPRACTICE DECIDED BY NEUTRAL ARBITRATION
   AND YOU ARE GIVING UP YOUR RIGHT TO A JURY OR COURT
   TRIAL. SEE ARTICLE 1 OF THIS CONTRACT.”

   Please confirm by August 1, 2023, if your clients will comply with the
   Physician-Patient Arbitration Agreements to arbitrate all individual claims
   and proceed by way of stipulation and proposed order.
   Best regards,




   Amir Nassihi




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                         ORANGE COUNTY | PHILADELPHIA | SAN FRANCISCO | SEATTLE | ST. LOUIS | TAMPA| W ASHINGTON, D.C.



                                                                                                                                               Exhibit 1
                                                                                                                                                 003
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                                                      PHYSICIAN-PATIENT ARBITRATION AGREEMENT
 Artide 1: Agreement to Arbitrate: It       Is understood  that any dispute as to medial malpractice, that Is as to whether any medial services rendered underthls contract
 were unnecessary or unauthorized or were Improperly, negligently, or incompetently rendered, will be determined by submission to arbitration as provided by California
 la*//, and not by a lawsuit or resort to court process except as California law provides for judidal review of arbitration proceedings. Both parties to this contract, by entering
 into It, are giving up their constitutional right to have any such dispute dedded in a court of law before a jury, and Instead are accepting the use of arbitration.
 Artide 2: All Calms Must be Arbitrated: It is the intention of the parties that this agreement bind all parties whose daims may arise out of or relate to treatment or
 service provided by the physidan induding any spouse or heirs of the patient and any chifdren, whether bom or unborn, at tire time of the occurrence ghving rise to any
 claim. In the case of any pregnant mother, the term'patienf herein shall mean both the mother and the mother's expected child or children.
 Ail daims for monetary damages exceeding the Jurisdictional limit of the small daims court against the physician, and the physidan's partners, assodates, assodation,
corporation or partnership, and the employees, agents and estates of any of them, must be arbitrated Induding, without limitation, claims for loss of consortium, wrongful
death, emotional distress or punitive damages. Filing of any action in any court by the physidan or patient to collect or contest any medial fee shall not waive the right to
compel arbitration of any malpractice daim. However, following the assertion of any malpractice daim, any fee dispute, whether or not the subject of any existing court
action, shall also be resolved by arbitration.
Artide 3: Procedures and Applicable Law: A demand for arbitration must be communicated In writing to ail parties. Each party shall select an arbitrator (party
arbitrator) within thirty days and a third arbitrator (neutral arbitrator) shall be selected by the arbitrators appointed by the parties within thirty days of a demand for a
neutral arbitrator by either party. Each party to the arbitration shall pay such party's pro rata share of the expenses and fees of the neutral arbitrator, together with other
expenses of the arbitration Incurred or approved by the neutral arbitrator, not including counsel fees or witness fees, or other expenses incurred by a party for such partyls
own benefit The parties agree that the arbitrators have the immunity of a Judidal officer from dvil liability when acting In the capadty of arbitrator underthls contract This
immunity shall supplement not supplant any other appiiable statutory or common law.
Either party shall have the absolute right to arbitrate separately the Issues of liability and damages upon written request to the neutral arbitrator
The parties consent to the Intervention and Joinder In this arbitration of any person or entity which would otherwise be a proper additional party in a court action, and
upon such Intervention and joinder any existing court action against such additional person or entity shall be stayed pending arbitration.
The parties agree that provisions of California law appiiable to health care providers shall apply to disputes within this arbitration agreement, Induding, but not limited
to, (ide of Ovil Procedure Sections 340.5 and 667.7 and Civil Code Sections 3333.1 and 3333.2. Any party may bring before the arbitrators a motion for summaryjudgment
orsummary adjudlation In accordance with the Code of Ovil Procedure. Discovery shall be conducted pursuant to Code of Gvil Procedure section 1283.05; however,
depositions may be taken without prior approval of the neutral arbitrator.
Artide 4: General Provisions: All daims based upon the same Inddent, transaction or related drcumstances shall be arbitrated In one proceeding. A daim shall be waived
and forever barred if (1) on the date notice thereof Is received, the claim, If asserted In a dvil action, would be barred by the applicable California statute cf limitations, or
(2) the daimant fails to pursue the arbitration daim In accordance with the procedures prescribed herein with reasonable diligence. With respect to any matter not herein
expressly provided for, the-arbitrators shall be governed by the California Code of Gvil Procedure provisions relating to arbitration.
Artide 5: Revocation: This agreement may be revoked by written notice delivered to the physidan within 30 days of signature. It Is the Intent of this agreement to apply to
all medial services rendered anytime for any condition.
Artide 6: Retroactive Effect: If patient intends this agreement to cover services rendered before thecjate it is signed (induding, but not limited to,
emergency treatment) patient should Initial below:
Effective as of the date of first medical services                                                                    iz.
                                                                                                                    Patleort or Patient Representativrt Inttiah
If any provision of this arbitration agreement Is held Invalid or unenforceable, the remaining provisions shall remain In full force and shall not be affected by the Invalidity of
any other provision.
I understand that I have the right to receive a copy of this arbitration agreement By my signature below, I acknowledge that I have received a copy.
NOTICE: BY SIGNING THIS CONTRACT YOU ARE AGREEING TO HAVE ANY ISSUE OF MEDICAL MALPRACTICE DECIDED BY NEUTRAL
ARBITRATION AND YOU ARE GIVING UP YOUR RIGHT TO A JURY OR COURT TRIAL. SEE ARTICLE 1 OF THIS CONTRACT.
                                                                                                                                                                  lo/6/Zo
     By:
                         l
           Physician^ or Authorized Representative^ Signature                (Date)
                                                                                                   By:                t   j

                                                                                                              Patients or Patient Representative^ Signature        (Date)

                                    WtfSG                                                          By:

           Print or Stamp Name of Physician, Medical Group, or                                                Print Patient^ Name
           Assodation Name
                                                                                                              Of Representative, Print Name and Relationship to
                                                                                                              Patient)


A signed copy of this document Is to be given to the Patient Original Is to be filed in Patient's medial records.
(9-13)

                                                                                                                                                                            Exhibit 1
                                                                                                                                                                              004
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                                                                              Exhibit 1
                                                                                005
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                                                                              Exhibit 1
                                                                                006
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                                                                              Exhibit 1
                                                                                007
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                                   #:916



 1                                  PROOF OF SERVICE
 2        I am over the age of 18 years and not a party to the within action. I am
     employed in the County of Orange, State of California. My business address is
 3   Jamboree Center, 5 Park Plaza, Suite 1600, Irvine, California 92614. On the date
     shown below, I served the following documents:
 4
         DECLARATION OF AMIR M. NASSIHI IN SUPPORT OF MOTION TO
 5            COMPEL ARBITRATION AND STAY PROCEEDINGS
 6   on the interested parties named herein and in the manner indicated below:
 7        Michael A. Caddell
 8        mac@caddellchapman.com
          Cynthia B. Chapman
 9        cbc@caddellchapman.com
10        Amy E. Tabor
          aet@caddellchapman.com
11        CADDELL & CHAPMAN
12        P.O. Box 1311
          Monterey CA 93942
13        Tel.: (713) 751-0400
14        Fax: (713) 751-0906
          Attorneys for Plaintiffs
15
     ☐    FIRST CLASS U.S. MAIL: I am readily familiar with this business' practice
16        for collecting and processing correspondence for mailing. Under that practice,
          correspondence is placed for collection and mailing in a sealed envelope with
17        postage fully prepaid and deposited with the United States Postal Service on that
          same day in the ordinary course of business.
18
     ☒     (ELECTRONIC FILING) I provided the document(s) listed above
19         electronically through the CM/ECF Electronic Filing system pursuant to the
           instructions set forth in the Local Rules for the United States District Court,
20         Central District of California.
21   ☐     (E-MAIL OR ELECTRONIC TRANSMISSION) Based on a court order or
           an agreement of the parties to accept service by e-mail or electronic
22         transmission, I caused the documents to be sent to the person(s) at the e-mail
           address(es) listed above. I did not receive, within a reasonable time after the
23         transmission, any electronic message or other indication that the transmission
           was unsuccessful.
24
           I declare under penalty of perjury under the laws of the State of California and
25   the United States of America that the foregoing is true and correct.
26         Executed on August 7, 2023, at Irvine, California.
27

28                                                By: /s/ Mayela C. Montenegro-Urch
                                                  Mayela C. Montenegro-Urch
